m7? Case 1:21-cr-00038-CRC Totdrrdet 90-LLGMieckOGMEBI2d Page 1 of 1

G mea | | Joseph McBride <jmcbride@mcbridelawnyc.com>

 

Richard Barnett
1 message

Rachel Roisen-Avant <Rachel_Roisen@arwp.uscourts.gov> Thu, Jun 17, 2021 at 2:09 PM
To: “/mcbride@mcbridelawnyc.com" <jmcbride@mcbridelawnyc.com>

If the Court deems it appropriate, this USPO is comfortable with approving leave outside a 50-mile radius; however, this
USPO is not comfortable with approving overnight travel without the Court's approval. The defendant has had two
interactions with law enforcement of note. On one occasion, law enforcement was dispatched to the defendant's property
for a report of gunfire. Law enforcement determined the gunfire did not come from the defendant's property. The other
incident was determined to be a civil dispute. The detective determined that there was no evidence of criminal
wrongdoing.

Rachel Roisen-Avant

U.S. Probation Officer

Western District of Arkansas
Fayetteville Division

35 East Mountain Street, Room 319
Fayetteville, AR 72701
479-695-4443 (desk)

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